       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 1 of 30




                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS


        PROXENSE, LLC,                   Civil Action No. 6:21-CV-00210-ADA

Plaintiff,

v.                                             JURY TRIAL REQUESTED

SAMSUNG ELECTRONICS, CO., LTD. and              REDACTED VERSION OF
SAMSUNG ELECTRONICS AMERICA, INC,            DOCUMENT FILED UNDER SEAL

        Defendants.




               PLAINTIFF PROXENSE, LLC’S BRIEF IN OPPOSITON TO
             DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT




                                         i
      Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 2 of 30




                                              TABLE OF CONTENTS

I.    ARGUMENT....................................................................................................................... 1

      A.        A Material Issue of Fact Exists As to Whether the Samsung Pay “Stub App”
                Directly and Indirectly Infringes the Asserted Apparatus Claims ........................... 1

                1.     Accused Devices with the Samsung Pay “Stub App” Directly Infringe ......... 1

                2.     Samsung Induces Infringement of Products with the “Stub App” .................. 7

      B.        Samsung is Not Entitled to Summary Judgment on the Basis of Divided
                Infringement ............................................................................................................ 8

                1.     TSPs are Not Required for Performance of any Asserted Method Claims ..... 9

                2.     Samsung controls the TSPs and has Formed a Joint Enterprise with Them . 12

      C.        Samsung is Not Entitled to Summary Judgment Limiting Damages for Method
                Claims .................................................................................................................... 17

                1.     Samsung’s Motion is Premature .................................................................... 17

                2. Disputed Factual Issues as to the Damages Base Preclude Summary
                Judgment ................................................................................................................ 18

                3.     Samsung Seeks A Remedy at Odds with Accepted Damages Analysis........ 19

      D.        Samsung     Cannot        Argue            that        there         are        Differences              Between
                Software Versions.................................................................................................. 22

II.   CONCLUSION ................................................................................................................. 24




                                                                        i
           Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 3 of 30




                                             TABLE OF AUTHORITIES

                                                                                                                           Page(s)

Cases

Advanced Software Design Corp. v. Fiserv, Inc.,
   641 F.3d 1368 (Fed. Cir. 2011) ............................................................................................... 11

Akamai Techs., Inc. v. Limelight Networks, Inc.,
   797 F.3d 1020 (Fed. Cir. 2015) ............................................................................................... 15

In re Bill of Lading Transmission & Processing Sys. Pat. Litig.,
    681 F.3d 1323 (Fed. Cir. 2012) ................................................................................................. 6

Cardiac Pacemakers, Inc. v. St. Jude Med., Inc.,
   576 F.3d 1348 (Fed. Cir. 2009) ......................................................................................... 17, 19

Fantasy Sports Props., Inc. v. Sportsline.com, Inc.,
   287 F.3d 1108 (Fed. Cir. 2002) ................................................................................................. 5

Finjan, Inc. v. Secure Computing Corp.,
   626 F.3d 1197 (Fed. Cir. 2010) ................................................................................................. 2

Georgia–Pacific Corp. v. U.S. Plywood Corp.,
   318 F. Supp. 1116 (S.D.N.Y.1970) ....................................................................... 17, 20, 21, 22

In re: Google LLC,
    949 F.3d 1338 (Fed. Cir. 2020) ............................................................................................... 12

Hanson v. Alpine Valley Ski Area, Inc.,
   718 F.2d 1075 (Fed. Cir. 1983) ............................................................................................... 20

Liquid Dynamics Corp. v. Vaughan Co.,
   449 F.3d 1209 (Fed. Cir. 2006) ............................................................................................... 18

Lucent Techs., Inc. v. Gateway, Inc.,
   580 F.3d 1301 (Fed. Cir. 2009) ......................................................................................... 19, 20

Nalco Co. v. Chem-Mod, LLC,
   883 F.3d 1337 (Fed. Cir. 2018) ............................................................................................... 10

NetworkCom., Inc. v. Microsoft Corp.,
   422 F.3d 1353 (Fed. Cir. 2005) ................................................................................................. 6

Niazi Licensing Corp. v. St. Jude Med. S.C., Inc.,
   30 F.4th 1339 (Fed. Cir. 2022) ................................................................................................ 19
                                                                       ii
           Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 4 of 30




NVT SPE LLC v. Int'l Trade Comm'n,
  46 F.4th 1361 (Fed. Cir. 2022) ........................................................................................ 1, 8, 11

ResQNet.com, Inc. v. Lansa, Inc.,
   594 F.3d 860 (Fed. Cir. 2010) ........................................................................................... 19, 20

Silicon Graphics, Inc. v. ATI Techs., Inc.,
    607 F.3d 784 (Fed. Cir. 2010) ................................................................................................... 5

Sprint Commc’ns Co., L.P. v. Time Warner Cable, Inc.,
   760 F. App’x 977 (Fed. Cir. 2019) .......................................................................................... 20

Travel Sentry, Inc. v. Tropp,
   877 F.3d 1370 (Fed. Cir. 2017) ......................................................................................... 12, 15

Uniloc USA, Inc. v. Microsoft Corp.,
   632 F.3d 1292 (Fed. Cir. 2011) ............................................................................................... 11

Wealthmark Advisors Inc. v. Phoenix Life Ins. Co.,
  No. SA16CA00485FBESC, 2017 WL 1133506 (W.D. Tex. Mar. 24, 2017) ......................... 15




                                                                       iii
        Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 5 of 30




       Proxense respectfully submits this brief in opposition to Defendants’ (“Samsung’s”)

motion for partial summary judgment. See Samsung’s Motions for Partial Summary Judgment,

Dkt. No. 94 (“Samsung’s SJ Mot.” or “Mot.”). Samsung’s Motion should be denied on all of the

grounds raised therein. Samsung’s legal contentions are unsupported by law, and genuine disputes

of material fact remain as to each issue for summary judgment that Samsung has raised.

I.     ARGUMENT

       A.     A Material Issue of Fact Exists As to Whether the Samsung Pay “Stub App”
       Directly and Indirectly Infringes the Asserted Apparatus Claims

               1.      Accused Devices with the Samsung Pay “Stub App” Directly Infringe

       The apparatus claims in dispute require devices that are “capable of” certain functionalities,

and not their actual performance. Based only on the absence of “for performing” type claim

language and the use of the simple-present tense, Samsung argues the apparatus claims require

actual performance. Mot. at 11-12. This argument, however, was rejected by the Federal Circuit.

See NVT SPE LLC v. Int'l Trade Comm'n, 46 F.4th 1361, 1373-74 (Fed. Cir. 2022). The court

found that “based on just claim language, we see very little significance in the difference between

a limitation that might recite ‘a data obtaining section for demodulating and decoding’ (Finjan-

style) and one that recites ‘a data obtaining section that demodulates and decodes’ (the actual ’439

claim language), for determining on which side of the capability/actual-operation line the claims

fall.” Id. (internal citation omitted). The present apparatus claims are directed to computer

implemented inventions comprising software components programmed to perform specific steps

and, consistent with Federal Circuit precedent, should not be construed to require actual operation.1



1
 NVT SPE LLC v. Int'l Trade Comm'n, 46 F.4th 1361, 1372-73 (Fed. Cir. 2022) (“[T]he recited
operative steps a computer- or software-based device undertakes is what defines what a computer-
                                                   1
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 6 of 30
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 7 of 30
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 8 of 30
        Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 9 of 30




Ex. A, Dr. Rubin Depo. Tr., 220:2-23; Ex. E, Neilson Depo. Tr., 206:5-




                              In fact, the icon a user taps on to launch the “full” app is the exact

same icon, in the exact same location of a user’s screen. Samsung installs the “stub app.”



          From the user’s perspective, whether a “stub app” or a “full” app is on the device, the

user participates only by using an app identically labeled “Samsung Pay.”

       Samsung’s caselaw in support of its argument revolves around scenarios where a user must

modify their device for it to infringe. But that is not the case here. The user does not modify their

device by using it the way it was intended to be used with the functionality that is built into the

device. Id. at 98:18-99:6. Using a “stub app” that causes Samsung to install something on its

devices does not require user modification at all, let alone modification sufficient to avoid

infringement under the standard advocated by Samsung; if anything, Samsung’s caselaw supports

Proxense’s infringement theory regarding a user’s “activation” thereof. See Silicon Graphics, Inc.

v. ATI Techs., Inc., 607 F.3d 784, 795 (Fed. Cir. 2010); Fantasy Sports Props., Inc. v.

Sportsline.com, Inc., 287 F.3d 1108, 1118 (Fed. Cir. 2002) (“Therefore, although a user must

activate the functions programmed into a piece of software by selecting those options, the user is

only activating means that are already present in the underlying software. Otherwise, the user

would be required to alter the code to enable the computer to carry out those functions.”). At best,

Samsung’s motion presents a question of fact on this issue. Samsung sells—and Samsung’s users

pay for—all of the advertised features of the device, which includes Samsung Pay. The jury can



                                                     5
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 10 of 30




find that the accused devices include all of the functionality of Samsung Pay even if some portion

of the code waits to be downloaded from Samsung’s server.

       Samsung’s argument that a device is not capable of using software that is installed

automatically by the manufacturer when the user begins using it is likewise unsupported. Samsung

misapprehends the finding in Microsoft. See Mot. p. 8. In Microsoft, the court construed the term

“‘download component’ to mean a file or program either sent to or received by a computer in

response to a request for electronic data….” among other requirements. NetworkCom., Inc. v.

Microsoft Corp., 422 F.3d 1353, 1362 (Fed. Cir. 2005). For that reason, court required something

to be downloaded pursuant to the construction of the claim limitation “download component”—

which is absent from the claims here and thus renders Microsoft inapposite.

       Moreover, Samsung’s non-infringement position would eviscerate software infringement

for all modern computers, tablets, and smartphones. Smartphones (any modern computer) run

updates and install apps when they are first powered on and activated. These devices are designed

to run the software that is installed on them by the manufacturer, whether out of the box or “over

the air,” and are sold with that functionality. Adopting Samsung’s position would suggest that any

software provider could simply avoid direct infringement by pointing to that download or

including “stub apps”—even when that same provider also sells the underlying supporting

hardware. Samsung should not be allowed to transform a feature or software that it expressly

includes into a component that is sold after the fact, triggering contributory infringement. See, e.g.,

In re Bill of Lading Transmission & Processing Sys. Pat. Litig., 681 F.3d 1323, 1338 (Fed. Cir.

2012). The stub app is not a component sold after the fact nor does it constitute a modification by

the user; it is preloaded and pre-configured by Samsung for a singular purpose—to install Samsung



                                                      6
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 11 of 30
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 12 of 30




       Crystal Semiconductor, which Samsung cites for this proposition, only deals with

infringement once the device has been placed into the accused mode of operation. See Mot. at 13.

(citing Crystal Semiconductor Corp. v. TriTech Microelecs. Int’l, Inc., 246 F.3d 1336, 1351 (Fed.

Cir. 2001)). But Samsung’s entire argument here is that the devices have allegedly never been

placed into such a mode. There exists a genuine dispute of material fact as to whether the accused

devices infringe when placed into operation. Samsung has not moved for summary judgment as to

infringement as to the operation of the Samsung Pay in general. This argument is therefore circular

and unavailing.

       B.     Samsung is Not Entitled to Summary Judgment on the Basis of Divided
       Infringement

       The asserted method claims of the 730, 905, and 989 patents are not susceptible to any

reading that requires divided infringement. In fact, Proxense has moved for summary judgment on

this issue. See Proxense’s MSJ, Dkt No. 97 at 12-15. Samsung identifies a single representative

claim limitation that, according to Samsung, requires a third party. But this limitation only requires

sending or receiving data to and from a third party. What a third party does with the data is merely

the environment in which the claims operate and do not constitute additional limitations to the

claim. Defendants should have raised their new claim construction argument during Markman. See

Id. Summary judgment should be entered in Proxense’s favor on this issue. See id.

       Even if Defendants’ reading of the claims was correct, there is ample evidence that




SAMSUNG_Proxense_183871; Ex. U, SAMSUNG_Proxense_186001; Ex. V,
SAMSUNG_Proxense_209124.
                                       8
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 13 of 30
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 14 of 30
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 15 of 30




Ex. A, Dr. Rubin Depo. Tr., 360:11-21. Samsung is relying solely on Dr. Rubin’s answers to poorly

worded questions, interposed over counsel’s objections, to conduct an unorthodox claim

construction at this late stage in this litigation; Samsung cites not one bit of intrinsic evidence nor

a single case that supports its strained reading of these method claims.

       Dr. Rubin’s clear understanding that the claims merely recite the environment that the

accused devices function is aligned with Federal Circuit law. “Because of the nature of the

technology, computer and software claims typically use functional language to define the

invention.” INVT SPE LLC v. Int'l Trade Comm'n, 46 F.4th 1361, 1372 (Fed. Cir. 2022). In INVT,

the Federal Circuit held that claim language directed to an LTE device whose claimed function

depended on the operation of a recited external base station was not divided infringement, because

the recited external base station was merely a definition of the environment in which the claimed

device operated. See id. at 1374-75.

       This is well settled law. In Uniloc, for example, the Federal Circuit considered a claim to

a “remote registration station incorporating remote licensee unique ID generating means, said

station forming part of a registration system ... including local licensee unique ID generating

means....” Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292 (Fed. Cir. 2011). The Circuit found

that this claim was directed to the actions of a single party and that the remainder of the claim,

“said station forming part of a registration system ... including local licensee unique ID generating

means,” only “define[d] the environment in which that [remote] registration station must

function.” Id. at 1309; see also Advanced Software Design Corp. v. Fiserv, Inc., 641 F.3d 1368,

1374 (Fed. Cir. 2011). Method claim steps must be steps and not mere descriptions of the

environment that the claimed steps must be performed in to trigger divided infringement. Id.



                                                      11
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 16 of 30
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 17 of 30
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 18 of 30
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 19 of 30
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 20 of 30
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 21 of 30




       C.    Samsung is Not Entitled to Summary Judgment Limiting Damages for Method
       Claims

       Samsung seeks partial summary judgment of noninfringement of the method claims. See

Mot. at 20. But Samsung cannot contend that there is no evidence (direct or circumstantial) of

direct infringement of the method claims here. Indeed, Samsung merely seeks a limited ruling that

caps the possible damages base for infringement of the asserted method claims to

                                                                                            See ECF

No. 100 at 22 (citing SAMSUNG_Proxense_209362). The remedy sought is premature; Proxense

asserts both method and apparatus claims and can, therefore, still recover damages for

infringement of apparatus claims based on total sales of all accused products. Furthermore, factual

questions regarding the scope of infringement of the method claims preclude summary judgment.

Finally, the jury need not be limited to acts of actual infringement of method claims when

considering the hypothetical negotiation under Georgia-Pacific, since that analysis is necessarily

forward looking and would occur before the scope of any infringement is known by either party.

               1.     Samsung’s Motion is Premature

       Samsung’s motion seeks a premature remedy—the damages base for apparatus claims is

unchallenged, and essentially focuses on what should be dealt with by a jury instruction.

       Samsung cites cases in which only method claims were asserted. But where both apparatus

and method claims are asserted, courts have held that summary judgment on a damages ceiling of

infringement for method claims is not helpful, since damages above that ceiling can still be

awarded for infringement of apparatus claims. See Cardiac Pacemakers, Inc. v. St. Jude Med.,

Inc., 576 F.3d 1348, 1358 (Fed. Cir. 2009) (“While both [method and apparatus] claims were at

issue during trial, St. Jude would not have benefited if it had moved to limit damages because the


                                                    17
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 22 of 30




damages on the apparatus claims would have covered any sale of an apparatus that could execute

the elements of the claims. However, now only a method claim is at issue; thus, St. Jude stands to

benefit from limiting damages to devices that actually practice the method.”).

       Jury instructions are a superior method by which to address Samsung’s concern.

               2.   Disputed Factual Issues as to the Damages Base Preclude Summary
               Judgment

       Beyond the prematurity of Samsung’s motion, questions of fact preclude summary

judgment on this issue.        For example, Chris Pickering (Samsung’s financial corporate

representative), who testified about the card registration data on which Samsung relies, identified

several limitations affecting the interpretation of those data.




       The jury can find acts of infringement of method claims based on circumstantial evidence.

See Liquid Dynamics Corp. v. Vaughan Co., 449 F.3d 1209, 1219 (Fed. Cir. 2006).




                                                     18
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 23 of 30




       Where factual disagreements exist as to the number of devices used to practice the claimed

method, and the jury will be able to consider circumstantial evidence that the number of acts is

greater than the specific number Samsung mentions, summary judgment is not appropriate. This

issue, to the extent it remains at trial, can and should be addressed by jury instruction.

               3.      Samsung Seeks A Remedy at Odds with Accepted Damages Analysis

       Samsung also overstates the principle that a damages base for infringement of a method

claim should be limited to specific instances of infringement. See Mot. at 22 (citing Cardiac

Pacemakers, Inc. v. St. Jude Med., Inc., 576 F.3d 1348, 1358–59 (Fed. Cir. 2009). Indeed, the

Federal Circuit has observed that “we have never laid down any rigid requirement that damages in

all circumstances be limited to specific instances of infringement proven with direct evidence.”

See Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1334 (Fed. Cir. 2009); Niazi Licensing

Corp. v. St. Jude Med. S.C., Inc., 30 F.4th 1339, 1356 (Fed. Cir. 2022) (“[T]his court ‘has

recognized that in some instances, a royalty based upon actual use of a method – as opposed to a

royalty applied to the sale of a device that practices the method – is impractical in view of real-

world considerations.’”). The damages analysis for method claims is not as simple as counting up

the devices sold or used. Instead, “the damages inquiry must concentrate on compensation for the

economic harm caused by infringement of the claimed invention.” ResQNet.com, Inc. v. Lansa,

Inc., 594 F.3d 860, 869 (Fed. Cir. 2010). Even for method claims, this does not require that the

upper limit of damages be based solely on acts of proven practice of the claimed method, where
                                                     19
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 24 of 30




the value of being able practice the claimed method is also a consideration for the hypothetical

negotiation. See Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1080 (Fed. Cir. 1983).

       This is because a jury considering damages can properly assess the various Georgia-Pacific

factors under the hypothetical negotiation, which is an inquiry made from the perspective of the

parties prior to any infringement, when the scope of future acts of infringement is not known.

See Georgia–Pacific Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y.1970)

(“[T]he hypothetical negotiation or the “willing licensor-willing licensee” approach, attempts to

ascertain the royalty upon which the parties would have agreed had they successfully negotiated

an agreement just before infringement began.”); ResQNet.com, 594 F.3d at 868 (“reasonable

royalty” derives from a hypothetical negotiation between the parties when the infringement began).

And the Federal Circuit has observed that real-world negotiations in the relevant high technology

field achieve “licensing deals in which the amount paid for a particular technology is not

necessarily limited to the number of times a patented feature is used by a consumer.” Lucent, 580

F.3d at 1334. This follows where the payment amount is not tied strictly to usage, given that

monitoring actual usage can be impracticable, but also that the accused infringer gains value

“simply by having the patented invention available for use.” Id. At minimum, factual questions

exist as to such issues that preclude summary judgment.

       For example, Proxense’s expert witness Dr. Marais testified about his survey analysis of

what consumers value when deciding to purchase a smartphone, (e.g., Ex. Q, Marais Tr. 73:19-

25) and that that decision is affected by whether the device can use the patented invention (e.g.,

id. at 133:1-134:14, 154:1-12). Proxense’s damages expert, Jennifer Vanderhardt, accounted for

such value of the claimed technology in her assessment of the Georgia-Pacific factors, which a

reasonable jury could credit when considering the damages calculation. See Sprint Commc’ns Co.,
                                                   20
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 25 of 30




L.P. v. Time Warner Cable, Inc., 760 F. App’x 977, 983 (Fed. Cir. 2019) (“[T]he objective of

apportionment can be achieved in different ways, one of which is through the jury’s determination of

an appropriate royalty by applying the so-called Georgia-Pacific factors, under proper instructions

embodying apportionment principles.”); Ex. R, Expert Report of Jennifer Vanderhart, Ph.D.at ¶¶85-

138. Samsung’s ability to sell devices can be affected by Samsung’s inclusion of the claimed

technology in its devices.




       Samsung’s motion ignores the hypothetical negotiation and the Georgia-Pacific analysis

when addressing this portion of relief sought. Factors relevant to this analysis include the value to

Samsung of simply having access to the patented invention, challenges in monitoring acts of usage,

                                                     21
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 26 of 30




and other factors in the Georgia-Pacific framework that would tend to support a damages base of

total infringing products sold, rather than solely devices used to commit acts of direct infringement.

Admissible evidence, such as the examples mentioned above, is available that would tend to

support Proxense’s position on a damages base. Viewed against the backdrop of the numerous

questions of fact and other issues mentioned above, Samsung’s failure to explain why a jury could

not consider Georgia-Pacific factors in a hypothetical negotiation is sufficient to deny Samsung’s

motion on this issue.

       D.      Samsung Cannot Argue that there are Differences Between Software Versions

       Samsung’s motion for summary judgment of non-infringement of the asserted claims prior

to October 2020 is based on a false premise: that “no evidence” exists to create a genuine dispute

of material fact insofar as infringement of the accused devices in that time frame. Mot. at 23-24.

Not only is Samsung wrong, as Dr. Rubin relies on both internal documents and Samsung code

for support, but Samsung’s argument is at odds with Samsung’s conduct in discovery and the

testimony from Samsung’s corporate and expert witnesses.

       As a threshold matter, Dr. Rubin does not “rel[y] exclusively” on version 2.2 of the “EMV

Payment Tokenisation Specification, Technical Framework” dated October 2020. Mot. at 23.



                                                                             Ex. F, Expert Report of

Avi Rubin at ¶¶ 169-172 (citing to Samsung internal documents). Dr. Rubin also cites to Samsung

source code that supports his opinion. Id. at ¶¶ 185-186. Samsung appears to be blind to these

and other portions of Dr. Rubin’s report which rely on sources other than the EMV specification.

       Moreover, Samsung cannot argue that the code for the EMV Payment Tokenisation Spec

has changed. Samsung’s argument hinges on Dr. Nielson’s speculation that the code may have
                                                     22
Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 27 of 30
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 28 of 30




provide “evidence of the role [of] EMV payment tokens, which are required for every claim of

every asserted patent…” Mot. at 24. As demonstrated above, Samsung is incorrect that the TSP’s

actions are required for infringement. Samsung is raising the same argument here. Moreover, as

shown above, Dr. Rubin relies on evidence beyond just the EMV specification that Samsung Pay

utilizes a unique token per device.

       Despite its discovery conduct and its representation that its source code never materially

changed, both through testimony and acquiescence by its counsel, Samsung now claims that

Proxense should have proved infringement for all versions separately. But Samsung cannot simply

ignore the history of discovery in this case. Samsung’s motion for summary judgment must fail.

II.    CONCLUSION
       For the foregoing reasons, Proxense requests that the Court deny Samsung’s Motion for

Summary Judgment.

       Dated: October 31, 2022                             Respectfully submitted,

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Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 29 of 30




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                                  25
       Case 6:21-cv-00210-ADA Document 119 Filed 11/07/22 Page 30 of 30




                                   CERTIFICATE OF SERVICE


       I certify that on October 31, 2022, this document properly was served on counsel of record

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                                                              /s/ David L. Hecht
                                                              David L. Hecht




                                                   26
